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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION

UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                                   NO. 4:07CR00059-01 JLH

ANDRE B. JORDAN                                                                       DEFENDANT

                                              ORDER

        On September 26, 2013, Andre Jordan filed a motion for early termination of his supervised

release.1

        The Court directs the United States to respond to the motion for early termination of

supervised release within fourteen days from the entry of this Order, after consulting with the United

States Probation Office. The Court directs the Clerk to provide a copy of this motion to John Ray

White, Chief of the Criminal Division for the United States Attorney for the Eastern District of

Arkansas.

        IT IS SO ORDERED this 7th day of January, 2014.



                                                      ________________________________
                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE




        1
            The Court apologizes to Mr. Jordan for not being aware of this pending motion.
